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                 IN THE UNITED STATES DISTRICT COURT
                    THE EASTERN DISTRICT OF TEXAS
                          SHERMAN DIVISION

 UNITED STATES OF AMERICA, §
 Plaintiff,                §
                           §
       v.                  §                 COURT NO. 4:03CR00055-001
                           §
 WELLS FARGO,              §
 Garnishee-Defendant,      §
       and                 §
 HASSAN ABDALLAH,          §
 Judgment-Defendant.       §

         APPLICATION FOR WRIT OF CONTINUING GARNISHMENT

       The United States of America, Plaintiff, makes application in accordance

 with 28 U.S.C. § 3205(b)(1) to the Clerk of the United States District Court to

 issue a Writ of Continuing Garnishment upon the judgment entered against the

 Judgment-Defendant, Hassan Abdallah, social security number ***-**-9377,

 whose last known address is in Houston, Texas, in the above cited action in the

 amount of $132,903.00. The social security number and address have been

 redacted pursuant to FED. R. CRIM. P. 49.1. According to the records of the

 United States District Clerk, Eastern District of Texas, the judgment remains

 unsatisfied to the extent of the present balance in the amount of $125,379.09 as

 of May 18, 2021.

       Demand for payment of the above-stated debt was made upon the

 Judgment-Defendant not less than 30 days prior to May 18, 2021 and Judgment-

 Defendant has failed to satisfy the debt.
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       The Garnishee-Defendant is believed to owe or will owe money or property

 to the Judgment-Defendant, or is in possession of property of the Judgment-

 Defendant, and said property is a nonexempt interest of the Judgment-

 Defendant. The name and address of the Garnishee-Defendant or their

 authorized agent is:

             Wells Fargo
             Attention: Legal Order Processing
             MAC D1111-01A
             P.O. Box 1416
             Charlotte, North Carolina 28201

 The United States requests that the United States Marshal Service be ordered to

 personally serve the garnishee-defendant and judgment-defendant.

                                     Respectfully submitted,


                                     NICHOLAS J. GANJEI
                                     ACTING UNITED STATES ATTORNEY

                                     /s/ Robert Austin Wells
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